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                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE: PARAGARD PRODUCTS                          MDL DOCKET NO. 2974
LIABILITY LITIGATION
                                                  1:20-md-02974-LMM
This document relates to :

ROMINA LEONARD
                                                  Civil Action No. 1:23-cv-4258-LMM
       v.

TEVA PHARMACEUTICALS USA, INC.,
ET AL.

PROPOSED ORDER GRANTING PLAINTIFF’S CONSENT MOTION FOR LEAVE TO
             FILE AMENDED SHORT FORM COMPLAINT


       On Motion of the Plaintiff to amend her Short Form Complaint, leave is hereby granted to

allow Plaintiff to file her Amended Short Form Complaint.


SO ORDERED, this _______ day of ___________________, 2024.


                                                   __________________________________
                                                   Leigh Martin May
                                                   United States District Judge




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